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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                Case No.: 0:11-CV-62422-COHN/SELTZER

  LEON FRENKEL, et al.,

                  Plaintiffs,

  v.

  JOHN P. ACUNTO, et al.,

                  Defendants.

  ______________________________/

       COUNSEL’S RENEWED MOTION FOR LEAVE TO WITHDRAW AS ATTORNEY
                      FOR DEFENDANT, JOHN P. ACUNTO

          Undersigned counsel for Defendant, John P. Acunto (“Acunto”), Jonathan Bloom, Esq.

  (“Bloom”), L. Rachel Dolnick, Esq., and Bloom & Freeling (collectively, “Counsel”), move this

  Court for the entry of an Order allowing them to withdraw as counsel of record for Defendant,

  Acunto, and as grounds therefor state:

          1.   Irreconcilable differences have arisen between Counsel and Acunto.

          2.   All issues raised by Plaintiffs in their previously filed Motion to Enforce Settlement

  Agreement and Motion to Compel Release of Citibank Documents [DE 139] (the “Motion to

  Enforce”) have been resolved.

          3.   Counsel previously filed a Motion to Withdraw as counsel for Acunto [DE 140],

  however, due to the issues raised in Plaintiffs’ Motion to Enforce, the Motion to Withdraw was

  denied without prejudice to renew same after the issues raised in the Motion to Enforce were

  resolved [DE 152].

          4.   A hearing on the Motion to Compel was held in front of the Honorable Magistrate




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  Seltzer, after which a Report and Recommendation was entered. [DE 156].

         5.   Thereafter, this Court entered an Order Adopting Report and Recommendation and

  Granting Motion to Enforce Settlement Agreement (the “Order”). [DE 157].

         6.   Bloom has complied with all of his obligations set forth in the Order.

         7.   In addition, Bloom has still not heard from Acunto and still has been unable to reach

  him by e-mail and telephone.

         8.   Accordingly, Counsel renews the previously filed Motion to Withdraw and

  respectfully request leave to withdraw as Acunto’s counsel in this matter.

         9.   Rachel Dolnick, Esq., as counsel designated to receive and file papers and with

  whom Plaintiffs’ counsel and the court may communicate under this Court’s Paperless Order

  dated August 25, 2014 [DE 118], also requests leave to withdraw.

         WHEREFORE, Jonathan Bloom, Esq., L. Rachel Dolnick, Esq., and Bloom & Freeling

  respectfully request this Court to grant the Motion to Withdraw, and grant such other and further

  relief as this Court deems just and proper.

                       CERTIFICATE OF GOOD FAITH CONFERENCE

          Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the movant has
  conferred with all parties or non-parties who may be affected by the relief sought in this motion
  in a good faith effort to resolve the issues raised in the motion but has been unable to resolve the
  issues.

                                        BLOOM & FREELING

                                        s/ L. Rachel Dolnick
                                        L. RACHEL DOLNICK, ESQ.
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                                        Tel.: (561) 864-0000
  Dated: October 28, 2016




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                                              Respectfully submitted,


                                              /s/ L. Rachel Dolnick
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                                              Attorney for Defendant

                                  CERTIFICATE OF SERVICE

          The undersigned certifies that on this 28th day of October, 2016, a true and correct copy
  of the foregoing has been filed with the Clerk of the Court using its CM/ECF system, and the
  CM/ECF system will send a notice of the electronic filing to the following:

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                                            /s/ L. Rachel Dolnick
                                            L. Rachel Dolnick, Esq.




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